      9:22-cv-01388-DCN         Date Filed 04/29/22      Entry Number 1       Page 1 of 4




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 BEAUFORT DIVISION

Brian Shorr and Andrea Shorr,               ) CASE NO.:  9:22-cv-01388-DCN
                                            )
              Plaintiffs,                   )
v.                                          )   DEFENDANT MARRIOTT RESORTS
                                            )    HOSPITALITY CORPORATION’S
Marriott Vacation Club International, Inc., )        NOTICE OF REMOVAL
                                            )
Marriott Vacations Worldwide Corporation,
                                            )
Marriott Vacation Club d/b/a Marriott’s
                                            )
Monarch at Sea Pines, Island Fitness        )
Equipment, LLC, John Doe I , and John Doe )
II                                          )
                                            )
              Defendants.                   )
_____________________________________ )

       Defendant Marriott Resorts Hospitality Corporation, incorrectly named as Marriott

Vacation Club International, Inc., Marriott Vacations Worldwide Corporation, Marriott Vacation

Club d/b/a/ Marriott’s Monarch at Sea Pines, John Doe I and John Doe II, in this civil action

filed by Brian Shorr and Andrea Shorr, Civil Action No. 2022-CP-07-00548, in the Court of

Common Pleas for Beaufort County, State of South Carolina (the “State Court Action”), by and

through its undersigned attorneys, hereby files this Notice of Removal to the United States

District Court for the District of South Carolina, Beaufort Division, and shows the Court:

                                                1.

       On March 30, 2022, Plaintiffs Brian Shorr and Andrea Shorr (“Plaintiffs”) commenced

this pending civil action in the Court of Common Pleas for Beaufort County, South Carolina, as

Civil Action No. 2022-CP-07-00548.

                                                2.

       Defendant has not yet been served with a copy of the Summons and Complaint.
      9:22-cv-01388-DCN          Date Filed 04/29/22       Entry Number 1       Page 2 of 4




                                                  3.

       In lieu of filing an Answer to Plaintiffs’ Complaint in State Court, Defendant files the

appropriate Notices of Removal and will file an Answer in this Court pursuant to the Federal

Rules of Civil Procedure.

                                                  4.

       In this action, Plaintiffs seek recovery for personal injury through common law

negligence, gross negligence, premises liability, and loss of consortium claims for an incident

which occurred on August 25, 2022 when Mr. Shorr was injured by what Plaintiffs have alleged

to be defective fitness equipment.

                                                  5.

       This action is one over which this United States District Court has diversity jurisdiction,

pursuant to 28 U.S.C. § 1332(a).

                                                  6.

       Per the Complaint, Plaintiffs are residents of Monmouth County, New Jersey. Defendant

is a foreign limited liability company organized under the laws of the State of Delaware with its

principal place of business located in Florida.

                                                  7.

       Although Defendant denies liability to Plaintiffs, the Complaint contends that Plaintiffs

have suffered economic and non-economic damages including personal injury, loss of enjoyment

of life, loss of opportunity, mental anguish, distress, financial harm as well as loss of consortium.

Plaintiffs contend that Mr. Shorr underwent multiple steroid injections to his back as well as a

fusion cervical decompression surgery as a result of the subject incident. Plaintiffs have further

alleged that Ms. Shorr will be permanently deprived of Mr. Shorr’s consortium as a result of the

subject incident. These allegations demonstrate, by a preponderance of the evidence, that the



                                                  -2-
       9:22-cv-01388-DCN         Date Filed 04/29/22      Entry Number 1        Page 3 of 4




amount in controversy exceeds $75,000. This conclusion is further supported by Plaintiffs’

accounting of medical expenses that Mr. Shorr has incurred to date which amounts to

approximately $54,904.65. This accounting accompanied Plaintiffs’ initial demand to Defendant

which was $600,000.

                                                 8.

        Therefore, the requirements to trigger the diversity jurisdiction of this Court have been

met and removal is appropriate pursuant to 28 U.S.C. §§ 1332(a) and 1446(c)(2)(B).

                                                 9.

        Contemporaneously with the filing of this Notice of Removal, Defendant will give notice

to Plaintiff and will also file a copy of this Notice of Removal with the Court of Common Pleas

of Beaufort County, South Carolina. A copy of the Notice to Plaintiff of Removal of State Court

Action and the Notice to State Court of Filing of Notice of Removal are attached as Exhibits A-1

and A-2, respectively.

                                                10.

        Attached as Exhibit B to this Notice are true and accurate copies of all process, orders, or

pleadings filed in the State Court Action.

                                                11.

        By filing this Notice of Removal, Defendant does not waive any defense that may be

available to it.

        WHEREFORE, Defendant removes this State Court Action to the United States District

Court for the District of South Carolina, Beaufort Division.



                               [SIGNATURE PAGE TO FOLLOW]




                                                -3-
       9:22-cv-01388-DCN         Date Filed 04/29/22   Entry Number 1    Page 4 of 4




        This 29th day of April, 2022.


                                           Respectfully submitted,

                                           COPELAND, STAIR, VALZ & LOVELL, LLP


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